   Case 2:14-cv-05026-ODW-RZ Document 8-1 Filed 07/10/14 Page 1 of 1 Page ID #:244

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                          WESTERN DIVISION                                  SOUTHERN DIVISION
                                       312 North Spring Street, Room G-8                  411 West Fourth Street, Suite 1053
                                            Los Angeles, CA 90012                            Santa Ana, CA 92701-4516
                                             Tel: (213) 894-3535                                   (714) 338-4750

                                                                                             EASTERN DIVISION
    TERRY NAFISI                                                                           3470 Twelfth Street, Room 134
District Court Executive and                    Date 7/10/14                                   Riverside, CA 92501
       Clerk of Court                                                                            (951) 328-4450


 LOS ANGELES COUNTY
  SUPERIOR COURT
 CIVIL FILING UNIT
 111 NORTH HILL STREET
 LOS ANGELES, CA 90012



Re: Case Number: 2:14-cv-05026-ODW-RZ
         Previously Superior Court Case No. 14U06629
         Case Name: Abbey APT LP v. Jerome Rene Robinson et al


Dear Sir / Madam:
     Pursuant to this Court’s ORDER OF REMAND issued on 7/10/14                                                 , the
above-referenced case is hereby remanded to your jurisdiction.

     Attached is a certified copy of the ORDER OF REMAND and a copy of the docket sheet from this
Court.

      Please acknowledge receipt of the above by signing the enclosed copy of this letter and returning it
to our office. Thank you for your cooperation.

                                                           Respectfully,

                                                           Clerk, U. S. District Court


                                                           By: L Chai
                                                              Deputy Clerk
                                                                                213-894-5730
                                                           G
                                                           ✘ Western       G Eastern   G Southern Division
cc: Counsel of record



Receipt is acknowledged of the documents described herein.

                                                           Clerk, Superior Court

                                                           By:
Date                                                             Deputy Clerk

CV - 103 (09/08)                LETTER OF TRANSMITTAL - REMAND TO SUPERIOR COURT (CIVIL)
